
958 A.2d 928 (2008)
406 Md. 392
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Michael T. FARNAN, Respondent.
Misc. Docket AG No. 19, Sept. Term, 2008.
Court of Appeals of Maryland.
October 24, 2008.

ORDER
Upon consideration of the Joint Petition for Indefinite Suspension filed herein, pursuant to Maryland Rule 16-772, it is this 24th day of October, 2008,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Michael T. Farnan, be, and he is hereby, indefinitely suspended by consent from the practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Michael T. Farnan from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
